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15                         IN THE UNITED STATES DISTRICT COURT

16                      FOR THE EASTERN DISTRICT OF CALIFORNIA

17

18 UNITED STATES OF AMERICA                      ) Case No.: 1:08-CV-01786-JLT-SAB
                                                 )
19                           Plaintiff,          ) PLAINTIFF UNITED STATES OF
                                                 ) AMERICA’S NOTICE OF MOTION AND
20         vs.                                   ) MOTION TO REOPEN CASE;
                                                 ) MEMORANDUM OF POINTS AND
21 ORGANIC PASTURES DAIRY COMPANY,               ) AUTHORITIES IN SUPPORT THEREOF
   LLC, a corporation, and MARK McAFEE, an       )
22 individual,                                   )
                                                 ) HEARING DATE: May 24, 2024
23                                               ) TIME: 9:00 AM
                            Defendants.          ) PLACE: Courtroom 6, Fresno
24                                               ) JUDGE: Hon. Jennifer L. Thurston
                                                 )
25                                               )
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       PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION TO REOPEN CASE
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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE THAT on May 24th, at 9:00 a.m., or as soon thereafter as the
 3   matter may be heard, pursuant to Rule 60 of the Federal Rules of Civil Procedure, the Court’s
 4   April 20, 2010 Order in this Action (ECF No. 48) (“April 2010 Order”), and the parties’ Consent
 5   Decree of Permanent Injunction in this Action, which the Court entered as an order on July 26,
 6   2023 (ECF No. 67) (“Consent Decree”): Plaintiff the United States of America will and hereby
 7   does move this Court to relieve the United States from the July 26, 2023, termination and closing
 8   of this case (see Consent Decree) for the limited purpose of enforcing the Consent Decree. The
 9   Court entered the Consent Decree as a final resolution of the dispute raised in Plaintiff’s Petition
10   For An Order To Show Cause Why RAW FARM, LLC f/k/a Organic Pastures Dairy Company,
11   LLC, Mark McAfee, and Aaron McAfee Should Not Be Held in Contempt (“Petition”) (ECF No.
12   50-1). The United States concurrently files with this motion a Notice of a Motion to Enforce the
13   Consent Decree (“Motion to Enforce”).
14                       MEMORANDUM OF POINTS AND AUTHORITIES
15          On April 20, 2010, this Court entered an order permanently enjoining RAW FARM, LLC
16   f/k/a Organic Pastures Dairy Company, LLC (“Raw Farm”) and Mark McAfee (collectively,
17   “Defendants”), as well as all associated persons from, inter alia, distributing in interstate
18   commerce (1) unapproved new drugs, (2) misbranded food, and (3) raw milk and raw milk
19   products for human consumption except where alternative procedures to pasteurization are
20   permitted by regulation. See April 2010 Order, ECF No. 48, at 23-24; 21 C.F.R. § 1240.61
21   (promulgated pursuant to 42 U.S.C. § 264(a)). On March 27, 2023, the United States filed a
22   Petition alleging clear and convincing evidence of Raw Farm’s contempt of the April 2010 Order
23   (ECF No. 50-1). On May 19, 2023, the Court granted the United States’ Petition, finding that
24   Defendants and Raw Farm’s President, Aaron McAfee, “[u]ndisputedly” violated the April 2010
25   Order (ECF No. 62). On July 26, 2023, the Parties filed a stipulation and proposed order jointly
26   agreeing and stipulating to entry of a Consent Decree of Permanent Injunction as a final settlement
27   of the dispute raised in the Petition, pursuant to Court approval. ECF No. 66. On July 26, 2023,
28   the Court entered the proposed order and Consent Decree. ECF No. 67.

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 1              As further detailed in the United States’ concurrently filed Motion to Enforce and

 2       Memorandum in Support, in the short time frame since the entry of the Consent Decree, there have

 3       been two multistate outbreaks of foodborne illnesses linked to Raw Farm’s raw milk and raw milk

 4       cheddar cheese, where at least 162 people have become ill. Following the first outbreak – an

 5       October 2023 multistate outbreak of Salmonella Typhimurium linked to Raw Farm’s raw milk –

 6       the U.S. Food and Drug Administration (“FDA”) inspected Raw Farm’s facilities. In February

 7       2024, the Centers for Disease Control and Prevention and FDA began investigating a second,

 8       separate multistate outbreak of E. coli O157:H7 linked to Raw Farm’s raw milk cheddar cheese.

 9       On March 1, 2024, based on a determination that Raw Farm was distributing adulterated cheese in
10       interstate commerce in violation of the Federal Food, Drug, and Cosmetic Act (“FDCA”), FDA
11       issued Defendants and Aaron McAfee a Letter Order, pursuant to Paragraph 7 of the Consent
12       Decree, directing them to take a number of narrowly tailored and science-based corrective actions.
13       The corrective actions included, among other things, measures to ensure that any adulterated
14       cheese in interstate commerce is recalled and destroyed and that Defendants and Aaron McAfee
15       cease distributing adulterated cheese in interstate commerce, including an order to conduct and
16       submit the results of their internal audit demonstrating that they have not distributed any
17       adulterated cheese in interstate commerce. Yet, despite multiple requests, Raw Farm has not
18       provided adequate responses nor committed to comply with the agency’s orders. 1
19              As shown in the United States’ concurrently filed Motion to Enforce, clear and convincing

20       evidence exists of Raw Farm’s noncompliance with the FDCA, as well as Paragraphs 7 and 8 of

21       the Consent Decree. Paragraph 7 of the Consent Decree provides that “[i]f, at any time after this

22       Decree has been entered, FDA determines, based on the results of an inspection, . . . or any other

23       information, that Defendants have . . . violated the FDCA, . . . FDA may, as and when it deems

24       necessary, notify Defendants in writing of their noncompliance and order them to take appropriate

25       corrective actions, including, but not limited to . . . [c]ease receiving, manufacturing, preparing,

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     1
27   Undersigned counsel has for several weeks engaged in good faith negotiations with counsel for
   the defense seeking to resolve this matter. Counsel for the United States has concluded that further
28 negotiations would not convince Defendants to move from their position and now seeks
   intervention from the Court.
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           PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION TO REOPEN CASE
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 1       processing, packing, labeling, holding, and/or distributing any or all food or drugs” (¶ 7(A)),

 2       “[r]ecall, at the expense of Defendants . . . any [ ] FDA-regulated product otherwise in violation of

 3       . . . the FDCA” (¶ 7(B)), “[s]ubmit [ ] reports or information to FDA as requested” (¶ 7(D)), and

 4       “[t]ake any other corrective actions as FDA, in its discretion, deems necessary to protect the public

 5       health or bring Defendants into compliance with . . . the FDCA” (¶ 7(F)). Paragraph 8 of the

 6       Consent Decree provides that Defendants “shall immediately and fully comply with the terms of

 7       [FDA’s] order[s].”

 8              This motion and the concurrently filed Motion to Enforce are filed pursuant to the Court’s

 9       express retention of jurisdiction (i) over the Defendants’ compliance with the terms of the April
10       2010 Order and the Consent Decree and (ii) to grant such additional relief as may be necessary or
11       appropriate. 2 Paragraph 2(N) of the April 2010 Order provides that “[t]his Court retains
12       jurisdiction” over the action and the parties to this case “to issue such further decrees and orders as

13       may be necessary to enforce or modify this Order and for granting such other relief as may be

14       necessary and appropriate for the proper disposition of this case.” ECF No. 48 at 29. Similarly,

15       Paragraph 15 of the Consent Decree states that “[t]his Court retains jurisdiction over this action

16       and Defendants for the purpose of enforcing and modifying this Decree and for the purpose of

17       granting such additional relief as may be necessary or appropriate.” ECF No. 67, Ex. A at 7.

18 Date: April 19, 2024                                           Respectfully submitted,

19 BRIAN B. BOYNTON                                               PHILLIP A. TALBERT
   Principal Deputy Assistant Attorney General                    United States Attorney
20
   Civil Division
                                                                  /s/ Emilia P. E. Morris
21 ARUN G. RAO
   Deputy Assistant Attorney General                              EMILIA P. E. MORRIS
22                                                                Assistant United States Attorney
   AMANDA N. LISKAMM                                              U.S. Attorney’s Office
23 Director                                                       Eastern District of California
                                                                  Counsel for the United States of America
24 Consumer Protection Branch

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     2
26   Paragraph 2 of the Consent Decree states that “[t]he April 2010 Order remains in full force and
   effect with respect to Defendants and their directors, officers, agents, representatives, employees,
27 attorneys, successors, assigns, and any and all persons in active concert or participation with them
   (collectively, ‘Associated Persons’).” ECF No. 67, Ex. A at 1. Paragraph 3 of the Consent Decree
28 states that “Defendants and their Associated Persons shall comply with all of the provisions of this
   Decree.” Id., Ex. A at 2.
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           PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION TO REOPEN CASE
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 1   /s/ Roger Gural_____________

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 1                            CERTIFICATE OF SERVICE BY U.S. MAIL

 2          The undersigned hereby certifies that she is an employee of the Office of the United States

 3 Attorney for the Eastern District of California and is a person of such age and discretion to be

 4 competent to serve papers:

 5          That on April 19, 2024, she served a copy of:

 6    PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION

 7    TO REOPEN CASE; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT

 8                                               THEREOF

 9 by placing said copy in a postpaid envelope addressed to the person(s) hereinafter named, at the
10 place(s) and address(es) stated below, which is/are the last known address(es), and by depositing

11 said envelope and its contents in the United States Mail at Fresno, California;

12
     Addressee(s):
13
   Mark R. Figueiredo
14 Structure Law Group, LLP
   1754 Technology Drive, Suite 135
15 San Jose, CA 95110
   (408) 441-7500
16

17

18                                                         /s/ Marcela Vasquez
                                                           Marcela Vasquez
19

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        PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF MOTION AND MOTION TO REOPEN CASE
